Case 1:18-cv-01383-LMB-JFA Document 48 Filed 10/24/19 Page 1 of 1 PageID# 217



                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA

                                          Alexandria Division


CERTAIN UNDERWRITERS AT LLOYD’S                           )
LONDON SUBSCRIBING TO CERTIFICATE                         )
NO. Z178324-004APD,                                       )
                                                          )
         and                                              )
                                                          )
AMLIN UNDERWRITING, LTD.                                  )
                                                          )
                Plaintiffs                                )   Civil Action No. 1:18cv1383 (LMB/JFA)
                                                          )
                                                          )
    v.                                                    )
                                                          )
                                                          )
DEOL TRANSPORT, INC.,                                     )
                                                          )
               Defendant.                                 )



                                                JUDGMENT

         Pursuant to the order of this Court entered on October 24, 2019 and in accordance with Fed. R. Civ. P. 58,

JUDGMENT is hereby entered in favor of plaintiffs Certain Underwriters at Lloyd’s London Subscribing to

Certificate No. Z178324-004APD and Amlin Underwriting, Ltd.




                                                 FERNANDO GALINDO, CLERK

                                                 By:_________/s/_______________
                                                      Y. Guyton, Deputy Clerk


Dated: 10/24/2019
Alexandria, Virginia
